Case 25-11354-JNP           Doc 297-1 Filed 06/03/25 Entered 06/03/25 00:32:43        Desc
                             Certification of Counsel Page 1 of 2



 UNITED STATES BANKRUPTCY COURT
 FOR THE DISTRICT OF NEW JERSEY

 SAXTON & STUMP LLC
 Joshua J. Voss, Esq.
 280 Granite Run Drive, Suite 300
 Lancaster, PA 17601
 (717) 556-1072

 STARK & STARK, PC
 Marshall T. Kizner, Esq.
 Joseph H. Lemkin, Esq.
 100 American Metro Blvd.
 Hamilton, NJ 08619
 Telephone (609) 791-7022
 Attorneys for Prestige

                                                           Chapter 11
 In re:
                                                           Case Nos. 25-11354 (JNP)
 DARYL FRED HELLER,

           Debtor.


            CERTIFICATION OF COUNSEL IN SUPPORT OF OBJECTION TO
            DEBTOR’SMOTION FOR AN ORDER TO QUASH 2004 SUBPOENA

          I, Joseph H. Lemkin, Esq., hereby Certify as follows:

   1. I am a shareholder with law firm Stark & Stark, counsel for Prestige Fund

A, LLC, Prestige Fund A IV, LLC, Prestige Fund A IX, LLC, Prestige Fund B, LLC, Prestige

Fund B II, LLC, Prestige Fund B IV, LLC, Prestige Fund B V, LLC, Prestige Fund B VI, LLC,

Prestige Fund B VII, LLC, Prestige Fund B BTM I, LLC, Prestige Fund A II, LLC, Prestige

Fund A V, LLC, Prestige Fund A VI, LLC, Prestige Fund A VII, LLC, Prestige Fund D, LLC,

Prestige Fund D III, LLC, Prestige Fund D IV, LLC, Prestige Fund D V, LLC, Prestige Fund D

VI, LLC, Prestige Fund D BTM I, LLC, WF Velocity I, LLC, WF Velocity Fund IV, LLC, WF

Velocity Fund V, LLC, WF Velocity Fund VI, LLC and WF Velocity Fund VII, LLC




                                                  1
Case 25-11354-JNP             Doc 297-1 Filed 06/03/25 Entered 06/03/25 00:32:43                 Desc
                               Certification of Counsel Page 2 of 2



(collectively, “Prestige”). I submit this Certification in Support of Prestige’s Objection to

Debtor’s Motion for an Order The Motion to Quash 2004 Subpoena Served by Prestige Fund (the

         1.        Attached hereto as Exhibit “A” is a true and correct copy of the Answers to

Follow-Up Deposition Questions Supplied by Dennis Ream.

         2.        Attached hereto as Exhibit “B” is a true and correct copy of the transcript from

deposition testimony of Barry Rynearson, the former CFO of Heller Capital.

         3.        Attached hereto as Exhibit “C” is a true and correct copy of a compilation of text

messages from Heller Capital’s former Chief Operating Officer, Aaron Fogleman, to Debtor.

         4.        Attached hereto as Exhibit “D” is a true and correct copy of answers to

interrogatories in aid of execution supplied by Debtor to Prestige.

          I hereby Certify that the foregoing statements made by me are true. I am aware that if

any of the foregoing statements are willfully false, I am subject to punishment.




                                         By:__/s/ Joseph H. Lemkin____________
                                                Joseph H. Lemkin




                                                    2
4916-8113-3385, v. 1
